













Opinion issued November 12, 2009 








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-09-00333-CV
____________

TINA SOUTHWORTH, Appellant

V.

FARMERS MUTUAL PROTECTIVE ASSOCIATION OF TEXAS, Appellee




On Appeal from the 284th District Court
Montgomery County, Texas
Trial Court Cause No. 060302779CV




MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant has filed a motion to dismiss the appeal.  More than 10 days have
elapsed, and no objection has been filed.  No opinion has issued.  Accordingly, the
motion is granted, and the appeal is dismissed.  Tex. R. App. P. 42.1(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Justices Keyes, Alcala, and Hanks.


